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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:19-MJ-00073-AC
12                                Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           [PROPOSED] FINDINGS AND ORDER
14   IAN HOFFMANN,
15                                Defendant.
16

17                                               STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.      A complaint was filed against the defendant on May 13, 2019. The defendant was

21 arrested in the Central District of California on the complaint on May 16, 2019. The defendant was

22 ordered detained by Magistrate Judge Maria A. Audero on June 5, 2019. The defendant has not yet

23 made his initial appearance in the Eastern District of California. Under Title 18, United States Code,

24 Section 3161(b), the government is required to file an indictment of the defendant no later than June 15,

25 2019.

26          2.      By this stipulation, defendant and the government now move to continue the date by

27 which the government would be required to file an indictment until July 25, 2019.

28          3.      The parties agree and stipulate, and request that the Court find the following:


      STIPULATION REGARDING EXCLUDABLE TIME              1
      PERIODS UNDER SPEEDY TRIAL ACT
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 1               a)      Defense counsel and the government are currently in discussions to have the

 2        defendant plead guilty to a pre-indictment charge. The government is in the process of making

 3        such an offer to the defendant. As part of those pre-indictment plea discussions, defense counsel

 4        will need time to review discovery in this case, which includes many reports, physical evidence,

 5        screenshots, and undercover communications.

 6               b)      Counsel for defendant believes that failure to grant the above-requested

 7        continuance would deny him/her the reasonable time necessary for effective preparation, taking

 8        into account the exercise of due diligence.

 9               c)      The government does not object to the continuance.

10               d)      Based on the above-stated findings, the ends of justice served by continuing the

11        case as requested outweigh the interest of the public and the defendant in having an indictment

12        returned within thirty days of the defendant’s arrest as prescribed by the Speedy Trial Act.

13               e)      The parties agree that time will be excluded for the government to file an

14        indictment from the date of this order until July 25, 2019.

15        IT IS SO STIPULATED.

16   Dated: June 10, 2019                                   MCGREGOR W. SCOTT
                                                            United States Attorney
17

18                                                          /s/ GRANT B. RABENN
                                                            GRANT B. RABENN
19                                                          Assistant United States Attorney
20   Dated: June 10, 2019                                   /s/ ANDREW FLIER
                                                            ANDREW FLIER
21                                                          Counsel for Defendant
22                                                          IAN HOFFMANN

23                               [PROPOSED] FINDINGS AND ORDER
24        IT IS SO FOUND AND ORDERED this 11th day of June, 2019
25

26                                                   THE HONORABLE EDMUND F. BRENNAN
                                                     UNITED STATES MAGISTRATE JUDGE
27

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     STIPULATION REGARDING EXCLUDABLE TIME              2
     PERIODS UNDER SPEEDY TRIAL ACT
